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                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                       (Alexandria Division)

  Kforce, Inc.,

                  Plaintiff,

                                                     Civil Action No. l:18-cv-00451 (CMH/JFA)

  ThomasRiley Strategies, LLC,

                  Defendant.



                                STIPULATION FOR DISMISSAL

         PLEASE TAKE NOTICE that the parties, Kforce, Inc., and ThomasRiley Strategies, LLC

 (together the "Parties"), hereby stipulate to dismissal ofthis action with prejudice pursuant to Fed.

 R. Civ. P. 41(a)(l)(A)(ii). The Parties shall bear their own fees and costs. This Court shall have

 jurisdiction to enforce the terms of the Settlement Agreement executed on July 2,2018.

         Dated this 9th day of July, 2018.

  KFORCE,INC.                                       THOMASRILEY STRATEGIES,LLC
  /s/ Mark H. Churchill                             /s/ Adam L. Shaw

  By: Mark H. Churchill(Va. Bar No.42663)           By: Adam L. Shaw (Va. Bar No. 89559)
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  Counselfor PlaintiffKforce, Inc.                  Counselfor Defendant ThomasRiley
                                                    Strategies


        SO ORDERED.



                                                 United States District Court Judge
